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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    DAVID W. NOBLE, individually and on
    behalf of others similarly situated,
                                                                Civil Action No. 15-3713
           Plaintiff,

                   v.

    SAMSUNG ELECTRONICS AMERICA,
    INC.,

           Defendant.


   ARLEO, UNITED STATES DISTRICT JUDGE

           THIS MATTER having come before the Court on Defendant Samsung Electronics

   America, Inc.'s ("Defendant" or "Samsung") motion to dismiss, ECF No. 38;

           and for the reasons stated in the accompanying Opinion;

           IT IS on this 8th day of February, 2018;

           ORDERED that Defendant's motion to dismiss is hereby GRANTED as to Counts One

   and Six, and DENIED as to Counts Two, Three, Four, and Five; and it is further

           ORDERED that Plaintiff may replead Count One under Georgia law within thirty (30)

   days.

                                                      Is Madeline Cox Arleo
                                                      MADELINE COX ARLEO
                                                      UNITED STATES DISTRICT JUDGE




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